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                        IN THE UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF MICHIGAN



TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES DAVID                              CASE NO. 20-cv-13134
HOOPER and DAREN WADE RUBINGH,

        Plaintiffs
v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan,
JOCELYN BENSON, in her official capacity as
Michigan Secretary of State, the Michigan
BOARD OF STATE CANVASSERS,

        Defendants.



               PLAINTIFFS’ RESPONSES TO INTERVENORS’
               SUBMISSION OF SUPPLEMENTAL AUTHORITY

       COMES NOW Plaintiffs, Timothy King, Marian Ellen Sheridan, John Earl Haggard,

Charles James Ritchard, James David Hooper, and Daren Wade Rubingh, by and through their

undersigned counsel, and file this Response to Intervenors’ Motion for Submission of Additional

Authority.

       Intervenors submit two newspaper articles that offer no admissible or probative evidence

relevant to this case. With regard to the issues raised by the Detroit Free Press, Mr. Ramsland

already responded to the same points raised by defendants’ expert, Dr. Rodden, and stands by his

conclusions. (See Ramsland Reply Report, Docket No 49, Ex. 3 at par 6). The article brings

nothing to light that isn’t already before the court. Further the article incorrectly claims that
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there is no Spring Lake Township, Precinct 6. Maybe the reporter should tell that to the people

recorded as voting there. See below from state voting records.




       The second article from the Associated Press makes no mention of any evidence

presented here. Intervenors’ submission is nothing more than a desperate attempt to discredit Mr.

Ramsland’s opinions where their experts have failed.



Respectfully submitted, this 6th day of December, 2020.




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